Case 22-55941-lrc    Doc 9     Filed 08/11/22 Entered 08/11/22 14:21:30    Desc Main
                                Document     Page 1 of 2




                  UNITED STATES BANKRUPTCY COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

IN RE:                                    )
                                          )   CASE NO.: 22-55941-LRC
RALPH A. PARIENTE,                        )
                                          )   CHAPTER 7
      DEBTOR.                             )
                                          )

         NOTICE OF APPEARANCE AND REQUEST FOR NOTICES


      Scott B. McMahan, of Poole Huffman, LLC, files this Notice of Appearance

and Request for Notices for CDC Federal Credit Union, a creditor and party in

interest in the above-styled case, and hereby request receipt of all notices and

orders entered in this case.

      Respectfully submitted this the 11th day of August, 2022.

                                        POOLE HUFFMAN, LLC
                                        /s/ Scott B. McMahan
                                        Scott B. McMahan
                                        Georgia Bar No. 706240
                                        3562 Habersham at Northlake
                                        Building J, Suite 200
                                        Tucker, Georgia 30084
                                        Tel: (404) 373-4008
                                        Fax: (888) 709-5723
                                        scott@poolehuffman.com
                                        Attorney for CDC Federal Credit Union
Case 22-55941-lrc    Doc 9   Filed 08/11/22 Entered 08/11/22 14:21:30    Desc Main
                              Document     Page 2 of 2




                         CERTIFICATE OF SERVICE


      I hereby certify that on this date, I electronically filed the NOTICE OF

APPEARANCE AND REQUEST FOR NOTICES using the CM/ECF system,

which will automatically send email notification of such filing to the following:

             Trustee
             Edwin K. Palmer
             P.O. Box 1284
             Decatur, Georgia 30031

             Paul Reece Marr
             Debtor’s Attorney

      This the 11th day of August, 2022.

                                       POOLE HUFFMAN, LLC
                                       /s/ Scott B. McMahan
                                       Scott B. McMahan
                                       Georgia Bar No. 706240
                                       3562 Habersham at Northlake
                                       Building J, Suite 200
                                       Tucker, Georgia 30084
                                       Tel: (404) 373-4008
                                       Fax: (888) 709-5723
                                       scott@poolehuffman.com
                                       Attorney for CDC Federal Credit Union




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